












Motion Granted; Appeal Dismissed and Memorandum
Opinion filed November 18, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00921-CV

____________

&nbsp;

NURAT ALLISON, Appellant

&nbsp;

V.

&nbsp;

MOSUDI ADEGBINDIN, Appellee

&nbsp;



&nbsp;

On Appeal from the 280th District Court

Harris County, Texas

Trial Court Cause No. 2010-32687

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed June 18, 2010.&nbsp; On November 4, 2010, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Panel consists of Justices Seymore, Boyce, and
Christopher. 





